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                      UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF PENNSYLVANIA



                          )
BRUCE CARL WRIGHT         )                            Case Number 1:11-cv-4894
                          )
         Plaintiff        )
                          )
    vs.                   )
                          )
ENHANCED RECOVERY COMPANY )
LLC                       )
         Defendant        )
                          )


                               NOTICE OF DISMISSAL


       PLEASE TAKE NOTICE that plaintiff, Richard Maxwell, pursuant to Rule

41(a)(1)(i) of the Rules of the United States District Court, hereby dismisses the action

captioned above, with prejudice.




                              BY:_/s/ Bruce K. Warren
                                     Bruce K. Warren, Esquire
                                     Attorney for Plaintiff
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DATE: October 21, 2011
